                         Law Offices of Michael Grinblat
                          10 East 39th Street, 12th Floor
                              New York, NY 10016
                                                                     Telephone: (347) 796-0712
                                                                      Facsimile: (212) 202-5130
                                                                 michael.grinblatesq@gmail.com

                                       September 30, 2022

Judge Lorna G. Schofield
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007


Re:    BERNICE FRIMPONG v. RITE AID OF NEW YORK, INC., AFP SIXTEEN CORP.,
       JOHN DOE 1-X, persons yet unknown, Limited Liability Companies, Partnerships,
       Corporations 1-X, entities yet unknown
       Case No.:     22-cv-6704-LGS

By ECF



Dear Judge Schofield:

        I represent the plaintiff in the above-referenced action. On September 29, 2022, the Court
issued an Order, in which Your Honor ordered the plaintiff to apprise the Court of her efforts to
contact the defendants and provide them with an actual notice of this lawsuit. Please note that on
September 20, 2022, I served the Court’s Order, issued on August 23, 2022 [ECF Doc. No. 11],
and Your Honor’s Court’s Individual Rules on RITE AID OF NEW YORK, INC. and AFP
SIXTEEN CORP (the “Defendants”). I filed an affidavit of service regarding that mailing with the
Court on September 21, 2022, [ECF Doc. No. 14]. I have enclosed the letters to Defendants with
that correspondence, which informed them that the lawsuit has been initiated against them [Exhibit
1]. Furthermore, Defendants were served with the summonses and complaint in accordance with
Rule 4 of the Federal Rules of Civil Procedure. The service was made by delivering and leaving
with Ms. Amy Lesch, the authorized agent in the office of the New York Secretary of State, two
true copies of the summons and complaint, in accordance with Business Corporation Law 306.
The office of the New York secretary of state subsequently mails summonses and complaints to
the defendants at the addresses, which they provided to the secretary of state. In addition, I sent
the aforementioned correspondence to Defendant RITE AID OF NEW YORK, INC. to its chief
executive officer, at the address provided by that defendant as its CEO’s address to the New York
State Department of State and which appears in the database maintained by the NYS Department
of State for that defendant. Defendant AFP SIXTEEN CORP. was also properly served through
the New York State secretary of state at the address provided in the aforementioned database.
Furthermore, the same address for that defendant is also contained in the deed record, contained
BERNICE FRIMPONG v. RITE AID OF NEW YORK, INC., AFP SIXTEEN CORP., JOHN
DOE 1-X, persons yet unknown, Limited Liability Companies, Partnerships, Corporations 1-X,
entities yet unknown
Case No.:       22-cv-6704-LGS
September 30, 2022
Page 2

in the database maintained by the New York State Department of Taxation and Finance.
Consequently, the plaintiff has both served the defendants through the New York secretary of state
and notified them of this lawsuit at all addresses known to her. Today, the Clerk of the Court has
issued a certificate of default against Defendants and the plaintiff intends to file a motion for
default judgment against them within 30 days.

       I thank Your Honor for considering this matter.




                                                            Very truly yours,



                                                            Michael Grinblat, Esq.


CC: All counsel of record via ECF
